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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CRAIG ERVIN WIMBERLY,                              Case No. 19-cv-08316-SI
                                   8                    Plaintiff,
                                                                                            ORDER EXTENDING DEADLINES
                                   9             v.
                                                                                            Re: Dkt. No. 14
                                  10     A. CUEVAS,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Defendant has filed an ex parte request for an extension of the deadline to file a dispositive

                                  14   motion. Upon due consideration of the request and the accompanying declaration of attorney

                                  15   William Buranich, the court GRANTS the request. Docket No. 14. The court now sets the following

                                  16   new briefing schedule for a dispositive motion: Defendant must file and serve his dispositive motion

                                  17   no later than December 18, 2020. Plaintiff must file and serve on defense counsel his opposition

                                  18   to the dispositive motion no later than January 29, 2021. Defendant must file and serve his reply

                                  19   brief (if any) no later than February 19, 2021.

                                  20          IT IS SO ORDERED.

                                  21   Dated: October 20, 2020

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                                                                                         SUSAN ILLSTON
                                  23                                                     United States District Judge
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